                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:04CV51-03-V
                                  (3:01CR104-V)

JOSE DELGADO SANDOVAL,              )
                                    )
            Petitioner,             )
                                    )
            v.                      )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondents.            )
____________________________________)

       THIS MATTER comes before the Court upon Petitioner's Motion to Vacate, Set Aside, Or

Correct Sentence under 28 U.S.C. § 2255, (Document No. 1), filed February 9, 2004; on the

Government’s Answer to Petitioner’s Motion and Motion for Summary Judgment, filed April 28,

2004 (Document No. 4.)

       For the reasons stated herein, the Government’s Motion for Summary Judgment will be

granted, and the Petitioner’s Motion to Vacate will be denied and dismissed.

                    I. FACTUAL AND PROCEDURAL BACKGROUND

       The Petitioner is one of five defendants named in a three count Bill of Indictment. On

May 22, 2002, on the eve of trial and after a jury had ben selected, Petitioner entered a “straight

up” guilty plea to all three counts in the Indictment. Petitioner’s guilty plea was accepted by this

Court on that day after a Rule 11 hearing in which the Court engaged the Petitioner in its

standard, lengthy colloquy to ensure that his guilty plea was being knowingly and voluntarily

tendered. At the Rule 11 hearing, Petitioner specifically affirmed several matters – including that



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he understood the charges and penalties which he faced; that he actually committed the crime to

which he pled guilty; and that he was making his plea freely and voluntarily. On August 7,

2002, Petitioner filed a motion to withdraw his guilty plea.. On December 18, 2002, after a

hearing on the issue, this Court denied Petitioner’s Motion to withdraw his guilty plea. At

Petitioner’s sentencing hearing held on January 21, 2003, the Court found that there was a factual

basis to support Petitioner’s plea and reaffirmed its acceptance of the plea. The Court then

sentenced Petitioner to 180 months in prison.

        Petitioner did not appeal his case to the Fourth Circuit Court of Appeals. Instead he filed

the instant motion on February 9, 2004 alleging that he was subject to ineffective assistance of

counsel because his trial counsel provided him with erroneous legal advice which caused him to

plead guilty.

        Upon careful consideration of the foregoing documents and the controlling legal

precedent, the Court concludes that the Government’s Motion for Summary Judgment should be

granted. That is, the Court finds that the instant record makes it clear that counsel was not

deficient.

                                          II. ANALYSIS

        With respect to claims of ineffective assistance of counsel, a petitioner must show that

counsel’s performance was constitutionally deficient to the extent that it fell below an objective

standard of reasonableness, and that he was prejudiced thereby. Strickland v. Washington, 466

U.S. 687-91 (1984). In making this determination, there is a strong presumption that counsel’s

conduct was within the wide range of reasonable professional assistance. Id. at 689; see also

Fields v. Attorney Gen. Of Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865


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(1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983), cert. denied, 464 U.S.

1065 (1984); and Marzullo v. Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

       Under these circumstances, the petitioner “bears the burden of proving Strickland

prejudice.” Fields, 956 F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31. If the petitioner fails

to meet this burden, a reviewing court need not consider the performance prong.” Fields, 956

F.2d at 1290, citing, Strickland, 466 U.S. at 697.

       Furthermore, in considering the prejudice prong of the analysis, the Court must not grant

relief solely because the petitioner can show that, but for counsel’s performance, the outcome

would have been different. Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528

U.S. 855 (1999). Rather, the Court “can only grant relief under ... Strickland if the ‘result of the

proceeding was fundamentally unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506 U.S.

364 U.S. 364, 369 (1993).

       More critically here, a petitioner who alleges ineffective assistance of counsel following

entry of a guilty plea has an ever higher burden to meet. See Hill v. Lockhart, 474 U.S. at 53057;

Fields, 956 F.2d at 1294-99; and Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir.), cert. denied,

488 U.S. 843 (1988). The Fourth Circuit described the petitioner’s additional burden in a post-

guilty plea of ineffective assistance of counsel as follows:

       When a [petitioner] challenges a conviction entered after a guilty plea, [the] “prejudice
       prong of the [Strickland] test is slightly modified. Such a defendant must show that, but
       for counsel’s errors, he would not have pleaded guilty and would have insisted on going
       to trial.”

Hooper, 845 F,2d at 475; accord Hill v. Lockhart, 474 U.S. at 59; and Fields, 956 F.2d at 1297.



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63, 74-75 (1977).

        In evaluating post-guilty plea claims of ineffective assistance, statements previously made

under oath affirming satisfaction with counsel are deemed binding in the absence of “clear and

convincing evidence to the contrary.” Fields, 956 F.2d at 1299, citing Blackledge v. Allison, 431

U.S. 63, 74-75 (1977). Moreover, statements made during Rule 11 proceedings constitute strong

evidence of the voluntariness of a defendant’s plea. United States v. DeFusco, 949 F.2d 114, 119

(4th Cir. 1991).

        Turning now to Petitioner’s specific claim, the Court finds that the Petitioner has failed to

demonstrate an entitlement to any relief.

        Petitioner claims that his attorney, Marcos Roberts, told him that his only option was to

plead guilty as charged to all three counts in the Indictment. Mr. Roberts submitted an affidavit,

which was attached to the Government’s Motion for Summary Judgment as Exhibit 1, in which

he established that various plea offers were made by the Government and communicated to the

Petitioner through him. He offers in support the visitors log from the jail which corresponds to

the dates the plea offers were made to show that he went to see Petitioner to communicate these

offers to him. The Government confirmed that it did in fact make various plea offers to the

Petitioner through his attorney Mr. Roberts and that the Petitioner declined all of those offers.

These plea offers were extended to the Petitioner prior to trial. However, once the case began

and the jury was selected, all of the plea offers were withdrawn. Therefore, on the day Petitioner

actually pled guilty, which was after the jury had already been selected, his attorney was correct

in that he would either have to plead guilty to all counts of the Indictment or go to trial on all

counts of the Indictment.

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       Petitioner does not deny that his attorney came to see him, nor does he deny that plea

offers were made to him. He does argue that there was no written plea agreement presented to

him to sign, at least not to the best of his memory. Whether Petitioner’s attorney communicated

a plea offer with him verbally or whether the offer was in writing does not alter the analysis.

Petitioner mentions in a footnote that if such a conversation regarding plea offers had taken

place, it may be that he did not understand his attorney.1 Given that Mr. Roberts and the majority

of his staff are fluent Spanish speakers, the Court is not persuaded by this argument. Finally,

Petitioner points out that Mr. Roberts’ affidavit is not a sworn statement. The Court notes that

since Mr. Roberts is an attorney and he signed the affidavit, his signature alone represents to the

Court that the factual allegations have evidentiary support. See FRCP 11.

       The Petitioner also claims that but for this erroneous advice from his attorney, he would

not have pled guilty. However, in reviewing the transcript of the plea hearing it is clear that Mr.

Roberts actually advised him and informed the Court that he believed Petitioner should proceed

to trial and not plead guilty. Against the advice of counsel. Petitioner entered a plea of guilty to

all counts in the Indictment.

       The record clearly indicates that: (1) plea offers were made to the Petitioner; (2)after the

jury was selected, Petitioner, along with co-defendants, decided to plead guilty; (3) Mr. Roberts,

Petitioner’s attorney advised him to go forward to trial; and (4) Petitioner declined to follow his

attorney’s advice and plead guilty to all counts of the Indictment. Petitioner has failed to




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        The Court notes that Petitioner stated at his Sentencing Hearing that Mr. Roberts speaks
Spanish very well and he did not need the assistance of an interpreter to communicate with him.
See Sent.. Hrg. Trans. at 3.

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establish that his attorneys performance was constitutionally deficient and that he was prejudiced

by his performance.

       The record in this matter reflects that the Petitioner has failed to show that there is a

genuine issue of material fact for trial in connection with his allegations of ineffective assistance

of counsel. Accordingly, the Government’s Motion for Summary Judgment must be granted and

the Petitioner’s Motion to Vacate must be denied and dismissed.

                                              ORDER

       NOW, THEREFORE, IT IS HEREBY ORDERED that the Government’s Motion for

Summary Judgment (Document No. 4) is GRANTED and Petitioner’s Motion to Vacate

(Document No. 1) is DENIED and DISMISSED



This the __ day of April, 2005.




                                                       ______________________________
                                                       Richard L. Voorhees
                                                       United States District Court




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                         Signed: May 31, 2005




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